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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                             LAFAYETTE DIVISION


  In re: INOTIV, INC. SECURITIES
  LITIGATION                            Case No. 4:22-cv-00045-PPS-JEM




        LEAD PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO
           DEFENDANTS’ MOTION TO DISMISS LEAD PLAINTIFF’S
               FIRST AMENDED CLASS ACTION COMPLAINT
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                                        ISSUE STATEMENT
        Pursuant to Local Rule 7-1(e)(2)(B), Lead Plaintiff states that the issues raised by

 Defendants’ motion to dismiss include whether Lead Plaintiff’s First Amended Class Action

 Complaint for Violations of the Federal Securities Laws (ECF No. 53) adequately states claims

 for violations of the federal securities laws in accordance with, as applicable, Federal Rule of Civil

 Procedure 8(a), Federal Rule of Civil Procedure 9(b), Federal Rule of Civil Procedure 12(b)(6),

 and the Private Securities Litigation Reform Act of 1995 (“PSLRA”), including the following

 issues and sub issues:

        1.      Whether the FAC adequately alleges claims against all Defendants under Section

 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”)?

             a. Whether the FAC adequately alleges that Defendants made materially false or

                misleading statements or material omissions during the Class Period?

             b. Whether the FAC adequately alleges facts giving risk to a strong inference of

                Defendants’ scienter?

             c. Whether the FAC adequately alleges loss causation?

        2.       Whether the FAC adequately alleges claims against Defendants Inotiv, Leasure,

 and Taylor under Section 14(a) Exchange Act?

             a. Whether the FAC adequately alleges that Defendants Inotiv, Leasure, and Taylor

                made untrue statements of material facts and omitted to state material facts

                necessary to make the statements that were made not misleading?

             b. Whether the FAC adequately alleges loss causation?

        3.      Whether the FAC adequately alleges claims for control person liability against

 Defendants Leasure and Taylor under Section 20(a) of the Exchange Act?




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 I.      INTRODUCTION

         This case centers on Defendants’ scheme to mislead investors about two key acquisitions,

 Envigo and Orient Bio Resource Center (“OBRC”), that were purportedly designed to expand

 dramatically Inotiv’s access to quality research animals (known as models) that are vital to Inotiv’s

 core business.1 As a contract research organization (“CRO”), Inotiv relies on live animals to test

 the safety and effectiveness of drugs and products. Envigo was heralded as a “transformational”

 acquisition as it provided Inotiv with a new and lucrative line of business: breeding, importing,

 and selling research models, including “large” models such as beagles and non-human primates

 (“NHPs”). OBRC was a leading importer of NHPs, models that were increasingly in high demand

 and short supply. Defendants trumpeted the deals to investors as providing Inotiv with a stable

 and consistent source of research-quality models. In reality, the acquisitions added to rather than

 reduced Inotiv’s risk through undisclosed rampant animal welfare problems and entanglement in

 a primate smuggling ring that eventually triggered dramatic losses to Inotiv shareholders.

         Lead Plaintiff’s case concerns Defendants’ efforts to mislead and conceal the truth from

 investors. Defendants’ misrepresentations and omissions fall within two general categories. First,

 Defendants concealed the widespread, severe, and ongoing Animal Welfare Act (“AWA”)

 violations at the Company’s Cumberland, Virginia dog breeding facility (“Cumberland Facility”)

 that were identified by USDA inspectors starting in July 2021—at roughly the same time that

 Inotiv’s executives toured the facility during the extensive due diligence process prior to the

 Envigo acquisition. The USDA continued to find blatant and unresolved issues with the condition

 of the Cumberland Facility and the beagles housed there in four subsequent inspections, and it was



 1
   Unless otherwise specified herein, capitalized terms have the meanings as defined in Lead Plaintiff’s First Amended
 Class Action Complaint for Violations of the Federal Securities Laws (ECF No. 53, the “FAC”). References herein
 to “¶_” are to paragraphs in the FAC.


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  clear that the Company was taking little to no action to address the animal welfare crisis. The

  ongoing, unresolved harm eventually resulted in a federal and state law enforcement raid in May

  2022, and the subsequent shuttering of the Cumberland Facility. Second, Defendants concealed

  that Inotiv’s principal supplier of NHPs was the target of an ongoing federal criminal investigation

  into the illegal smuggling of those critical and scarce models (the “Criminal Investigation”) and

  that Envigo and OBRC had received grand jury subpoenas in June 2021 as part of the Criminal

  Investigation. Far from providing stable sources of research quality models, the acquisitions

  saddled Inotiv with a large-scale facility full of thousands of sick and aggressive beagles and NHP

  importers who were in the crosshairs of a criminal conspiracy investigation.

         Eventually, through a series of corrective disclosures, the market learned of the impact of

  the Cumberland Facility violations, the risks of the Criminal Investigation, and the impact both

  would have on Inotiv’s core business. As the truth was revealed, Inotiv’s stock price collapsed by

  nearly 88%, from a price of $55.55 per share just prior to the first partial corrective disclosure, to

  a price of $6.82 per share at the end of the Class Period. Indeed, Inotiv’s stock price has not

  recovered and is currently trading at less than $5.00 per share.

         Now, in an effort to escape liability, Defendants filed a motion to dismiss and a supporting

  brief (ECF No. 68, “Def. Br.”) that fundamentally miscasts Lead Plaintiff’s allegations, re-writes

  history, and takes a blunderbuss approach to legal arguments that ignore the FAC’s well pled

  allegations regarding the elements of materiality, falsity, loss causation, and, as they pertain to the

  §10(b) claims, scienter. Defendants’ arguments are riddled with premature factual disputes

  inappropriate on a motion to dismiss and otherwise fail to articulate a legitimate basis upon which

  the Court should dismiss the FAC. Significantly, Defendants fail to expressly challenge several

  alleged misrepresentations and ignore their own description of a comprehensive due diligence




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  process prior to the Envigo acquisition. In short, contrary to Defendants’ arguments, the FAC

  carefully tracks each alleged misstatement and omission concerning the Cumberland Facility and

  NHP issues that had a strong material impact on Inotiv’s business and stock price. Defendants

  misled investors about those issues, made only vague, boilerplate risk disclosures about regulations

  and routine inspections that did not warn of then-existing USDA inspection findings or the

  Criminal Investigation, and knew, or were reckless in not knowing, of the material impact of their

  misstatements and omissions to investors. In the end, the market’s strong reaction to the truth

  belies Defendants’ arguments. Defendants’ Motion to Dismiss must be denied.

  II.    FACTUAL BACKGROUND

         Inotiv is a CRO specializing in nonclinical and analytical drug discovery and development

  services. ¶34. In recent years, Inotiv has pursued a strategy of seeking to grow through strategic

  acquisitions. ¶40. As part of this strategy, Inotiv acquired two providers of critically important

  large research models including beagles and NHPs. ¶¶1, 35-40, 47, 50-51, 119, 203-04. Beagles

  are a preferred breed for use in research due to the dogs’ typically docile demeanor, and NHPs are

  a critical research model (as they are the animals closest to humans) that have been increasingly

  in demand and in short supply. ¶¶8-9, 40, 111, 123, 158.

         Defendants called the November 5, 2021 acquisition of Envigo “transformational” because

  it created an entirely new line of business, “breeding, importing and selling research-quality animal

  models for use in laboratory tests,” and provided the company with the vast majority—

  approximately three quarters—of its revenue. ¶¶1, 7, 9 35-40. Then, in January 2022, Inotiv

  acquired OBRC, a leading importer of NHPs that was celebrated as, among other things, providing

  Inotiv’s customers with “increased access to critical research models” in a supply-constrained

  environment. ¶¶1, 8, 38, 118, 201, 204, 224.

         Although Defendants touted Envigo as a leading source of research quality large models


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  and a company with a commitment to the highest degree of animal welfare, in reality and

  unbeknownst to investors, USDA inspectors had identified serious AWA violations and stunning

  animal cruelty at Envigo’s Cumberland Facility in July 2021. The finding of these conditions

  coincided with Inotiv’s due diligence on Envigo, with Defendants Leasure, Sagartz, and Wilbourn

  present onsite at roughly the same time. ¶¶61-69. The FAC details how beagles were kept in

  conditions of severe neglect in violation of the AWA, which resulted in aggressive and unhealthy

  dogs unsuitable for use in research. Id. USDA inspectors would continue to find the same and

  similar violations again and again in at least four subsequent inspections that took place over a ten-

  month period. ¶¶70-93; see also Def. Ex. Z at 1-28.2 After news of the conditions at the

  Cumberland Facility began to emerge, Defendants went to great lengths to downplay and trivialize

  the inspection findings and claim vague cooperation. But eventually, in May 2022, federal and

  state agents executing a search and seizure warrant raided the Cumberland Facility and the U.S.

  District Court for the Western District of Virginia granted an injunction due to the Company’s

  “repeated non-compliance with inspectors’ violation reports and with the AWA, as well as the

  substantial, documented risk of irreparable harm in the absence of prompt injunctive relief.” ¶¶96-

  108. Ultimately, Inotiv shuttered the entire Cumberland Facility. ¶¶16, 263.

           Defendants similarly touted the Envigo acquisition and the January 2022 acquisition of

  OBRC as providing Inotiv with better access to NHPs, critical research models that had been in

  short supply since the start of the COVID-19 pandemic. ¶¶8-9, 14, 170, 186-190, 201. However,

  Defendants concealed from investors the fact that the Company’s “principal supplier” of NHPs

  was the focus of the Criminal Investigation and that Envigo and OBRC had received grand jury



  2
    As used herein, references to “Def. Ex. _” refer to documents filed as Exhibits to the Declaration of Carrie M. Stickel
  in support of Defendants’ Motion to Dismiss Plaintiff’s First Amended Class Action Complaint (ECF Nos. 69-1 – 69-
  29). Page numbers cite to the pages identified by Defendants on the lower right corner of each page.


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  subpoenas in connection with that investigation in June 2021. ¶¶1, 3, 10, 14, 30, 120, 266. On

  November 16, 2022, six executives from Inotiv’s NHP supplier and two officials of the Cambodian

  government were indicted on felony charges in connection with an international primate

  smuggling ring in which OBRC was identified as an unindicted co-conspirator, and an OBRC

  executive (who was present at a meeting with Defendant Leasure and personally received a

  payment in connection with Inotiv’s purchase of OBRC) pled guilty to making false statements to

  federal investigators. ¶¶1, 3, 117-18, 128, 241. Defendants knew of or would have known of the

  Criminal Investigation through their due diligence of Envigo and OBRC. ¶¶119-20, 128, 242-44.

         Despite the material risks associated with the acquisitions of Envigo and OBRC regarding

  serious regulatory noncompliance and their principal supplier of NHPs being implicated in a

  criminal investigation that threatened the supply of those critical models, Defendants repeatedly

  provided false and misleading information to the market through materially misleading statements

  and the omission of material facts about Envigo and OBRC that artificially inflated the price of

  Inotiv’s stock. When the truth of those misrepresentations and omissions was revealed through a

  series of partial corrective disclosures (Section III.D, infra), Inotiv’s stock price declined sharply

  and Lead Plaintiff and members of the Class were damaged thereby.

  III.   ARGUMENT

         A.      Pleading Standards

         To state a claim under §10(b) and Rule 10b-5, a plaintiff must allege (1) defendants made

  misstatements or omissions of material fact; (2) with scienter; (3) in connection with the purchase

  or the sale of a security; (4) upon which plaintiffs reasonably relied; (5) economic loss; and (6) loss

  causation. See, e.g., Amgen v. Conn. Ret. Plans & Trust Funds, 568 U.S. 455, 459-460 (2013);

  AnchorBank, FSB v. Hofer, 649 F.3d 610, 617 (7th Cir. 2011).




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         To state a claim under §14(a), a plaintiff must allege that (1) the proxy contained a material

  misrepresentation or omission which (2) caused plaintiff’s injury, and that (3) the proxy was an

  essential link in the transaction. See City of St. Clair Shores Gen. Emps. Ret. Sys. v. Inland W.

  Retail Real Est. Tr., Inc., 635 F. Supp. 2d 783, 790 (N.D. Ill. 2009). There is no scienter element

  for a §14(a) claim; a §14(a) claim requires only “negligence.” Beck v. Dobrowski, 559 F.3d 680,

  682 (7th Cir. 2009) (misrepresentation or omission violates §14(a) “even if the issuer believed in

  perfect good faith that there was nothing misleading in the proxy materials”).

         To withstand a Rule 12(b)(6) motion, a plaintiff “need only allege enough facts to state a

  claim [for] relief that is plausible on its face.” Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27,

  37-38, 45 n.12 (2011) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007))

  (quotation marks omitted). In evaluating the plausibility of a complaint’s allegations, “the Court

  accepts as true all facts and allegations in the complaint and makes all reasonable inferences in the

  plaintiff’s favor.” Miller v. Apropos Tech, Inc., 2003 WL 1733558, at *3 (N.D. Ill. Mar. 31, 2003).

         B.      The FAC Sufficiently Alleges Defendants’ Materially False and Misleading
                 Statements and/or Material Omissions

         Defendants, who devote the majority of their brief to falsity and materiality arguments,

  incredibly assert that the FAC “does not adequately allege a material misrepresentation or

  omission.”    Def. Br. at 1; see id. at 10.      Even a cursory review of the FAC reveals the

  disingenuousness of this argument. The FAC details, in 75 paragraphs, statements made over a

  period of eleven months that Lead Plaintiff alleges to have been materially false and misleading.

  ¶¶161-236. With respect to the §14(a) claim, the FAC alleges material misrepresentations and

  omissions in the Proxy and documents incorporated by reference therein. ¶¶47-48, 161, 165-69,

  172-176.     In broad terms, the misrepresentations and omissions fall within two principal

  categories: (1) undisclosed ongoing AWA violations at the Cumberland Facility (¶¶161-69, 173-



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  76, 181, 184, 193, 197, 200-01, 207-10, 217-18, 224-25, 232, 235); and (2) the undisclosed fact

  that the Company’s principal supplier of NHPs was enmeshed in a Criminal Investigation

  implicating the NHP supply chain and that Envigo and OBRC had received grand jury subpoenas

  in that proceeding (¶¶169, 187-89, 200-01, 204, 219, 224, 229, 235). The FAC also specifies why

  each such statement is materially false and/or misleading and/or omits material information. See

  ¶¶171, 177-179, 182, 185, 190, 195, 198, 202, 205, 212-15, 220-22, 226-27, 230, 233, 236.

                   1. The FAC Sufficiently Alleges Defendants’ Materially False and Misleading
                      Statements and/or Material Omissions Regarding the Cumberland Facility

          The FAC alleges that Defendants made numerous material misrepresentations and

  omissions about the severe and ongoing AWA violations at the Cumberland Facility, including

  that Defendants concealed from investors the repeated findings of serious AWA noncompliance

  found in USDA inspections that began in July 2021 and continued through May 2022 that made

  the beagles raised there unsuitable for research purposes.3 The large-scale Cumberland Facility

  was material because it was the second largest breeder of research beagles, supplying the market

  with approximately 25% those important models, and was part of the category of “large” models

  that accounted for nearly half of Envigo’s revenues prior to the Inotiv acquisition and nearly a

  third of total revenues for the combined Company, and otherwise was a key component of the

  Company’s largest business segment by far. ¶¶39, 171, 207, 245, 311.

          Significantly, Defendants do not contest, and thus concede, that certain alleged

  misrepresentations and omissions in the FAC are actionable, including but not limited to the entire

  Cumberland Fact Sheet available on a Company website on and after November 5, 2021. ¶¶183-

  85. The Court must deny Defendants’ motion to dismiss in its entirety to the extent that the FAC



  3
    The FAC alleges that the Envigo beagles were unsuitable for research because of their aggression and difficulties
  interacting with humans due to their inhumane treatment at the Cumberland Facility. ¶¶61-69, 123, 137, 171(a).


                                                          7
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  sufficiently pleads a single actionable false and misleading statement or material omission. See

  Pierrelouis v. Gogo, Inc., 2021 WL 1608342, at *10 (N.D. Ill. Apr. 26, 2021) (“The Seventh

  Circuit has explained that ‘[a] motion to dismiss under Rule 12(b)(6) doesn’t permit piecemeal

  dismissals of parts of claims; the question at this stage is simply whether the complaint includes

  factual allegations that state a plausible claim for relief.’”) (citation omitted). The Cumberland

  Fact Sheet misled investors about conditions at Cumberland, falsely claiming that, inter alia,

  temperatures in dogs’ living areas were “continuously monitored” to remain within specific

  temperature ranges and other representations about sanitation and cleaning practices, feeding,

  caging, bedding, and the Company’s maintenance of pedigree and health history information.

  ¶¶183-84. As alleged, these statements were materially false and misleading and omitted material

  information because, starting in July 2021, USDA inspectors repeatedly found AWA deficiencies

  that were directly contrary to the representations in the Cumberland Fact Sheet. ¶185.

           Additionally, the FAC alleges numerous misrepresentations and omissions regarding the

  Cumberland Facility beginning with the September 21, 2021 announcement of the Envigo

  acquisition, including:

      •    Defendant Leasure touting Envigo as “a best-in-class provider of high-quality research
           models” with a “dedication to quality” that would benefit Inotiv, and concurring that
           Envigo provided “high-quality research-grade laboratory animals” (¶¶161-64);4

      •    Presentation slides referring to Envigo as a “leading provider of high-quality research
           models and services,” and showing the Cumberland Facility among the critical facilities to
           be acquired that made Envigo “a leader in research models services in key research

  4
    The falsity of statements regarding the “quality” or “research quality” of Envigo’s models is supported by, among
  other things, Confidential Witnesses (“CWs”), all of whom are former employees of the Company employed at
  relevant times. See Section C.2.a., infra. Defendants also raise an inappropriate factual challenge to a quote from the
  HSUS Report that addresses how Cumberland beagles did not meet research requirements. ¶158; see also ¶8 (alleging
  that researchers prefer beagles for their docile demeanor). Defendants’ principal dispute regarding the HSUS Report
  concerns its time frame. Def. Br. at 15. The FAC alleges that the report was published on April 21, 2022 after a seven
  month investigation. ¶157. HSUS indicated, when it released its report, that its source was inside Inotiv “[f]rom
  August 2021 to March 2022,” establishing a clear connection to the Class Period. See Humane Society Legislative
  Fund, Undercover Investigation Shows Plight of Dogs, Other Animals at Indiana Testing Facility (Apr. 2022),
  https://hslf.org/press-release/2022/04/undercover-investigation-shows-plight-dogs-other-animals-indiana-testing.


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           locations” and touting Envigo’s ability to “suppl[y] customers with genetically consistent
           research models time after time” (¶¶165-68);5

      •    Assertions in a Merger Agreement filed as an attachment to an Inotiv 8-K that Envigo was
           in full legal compliance and not under investigation, including that it “is not, and since June
           3, 2019 has not been, in violation in any material respect of any applicable Legal
           Requirement” or “guidance standards and policies” of any governmental authority, and had
           not received any “inspection reports with findings of material deficiencies” (¶¶161, 169).6

  Investment analysts reacted favorably to Defendants’ statements of September 21, 2021, viewed

  Envigo as providing Inotiv with “Better Access to Animals,” and saw no new or different risks

  from the Envigo acquisition based on Defendants’ representations. ¶170.7

           The FAC alleges that Defendants continued to make similar misrepresentations and



  5
    Representations that Envigo supplied customers with “genetically consistent research models” were materially false
  and misleading and omitted material information due to the fact that USDA inspectors identified multiple
  recordkeeping violations indicating that Envigo was not, in fact, keeping track of puppies born at the Cumberland
  Facility in a manner that could ensure the accuracy of animals’ genetic/breeding histories, as well as the fact that there
  was a genetic abnormality known as “wet paw” present in the beagle colony that was exacerbated by the serious
  flooring violations documented by the USDA. ¶171(b); see also Def. Ex. Z at 2-5 (USDA report describing improper
  recordkeeping, identification, and documentation of animal births observed in July 2021), 33-34 (continued
  incomplete recordkeeping of animal births and litter information). Defendants’ arguments (Def. Br. at 17 n.11) miss
  the point of these allegations and do not support dismissal of the FAC.
  6
    The FAC also alleges that Envigo was not in full legal compliance because, among other things, it had received
  “inspection reports with findings of material deficiencies” or other documentation of lack of compliance with
  regulatory requirements (i.e., the July 2021 Inspection and ongoing AWA noncompliance). Defendants’ attempt to
  escape liability by pointing the finger at Envigo must fail. Def. Br. at 17-18. Unlike in Forman v. Meridian Bioscience,
  Inc., 367 F. Supp. 3d 674, 691 (S.D. Ohio 2019), where the plaintiff had not alleged that the defendant “vouched for,
  adopted, or re-stated Magellan’s warranties to it,” Defendants here did exactly that when Inotiv filed the Merger
  Agreement as an exhibit to a Form 8-K and incorporated that filing by reference in the Proxy for the specific purpose
  of persuading Inotiv shareholders to vote in favor of measures needed to effectuate the acquisition. ¶161. Moreover,
  the Supreme Court has unambiguously held that even for statements that may not have been “made” by a defendant,
  liability under Section 10(b) and Rule 10b-5 attaches when, as here, a defendant disseminates false and misleading
  information to investors. See Lorenzo v. Sec. & Exch. Comm’n, 139 S.Ct. 1094, 1099-1101 (2019). Further,
  Defendants’ assertions as to their assessment of materiality of disclosure schedules omitted from the Merger
  Agreement turns on an issue of fact inappropriate for a motion to dismiss.
  7
    Contrary to Defendants’ repeated assertions that the FAC pleads “fraud-by-hindsight,” the FAC plainly alleges that
  USDA inspectors identified the core of AWA violations at the Cumberland Facility in July 2021—prior to the start of
  the Class Period—at which time or shortly thereafter Envigo representatives were informed of the inspectors’ findings
  at an “exit briefing” and given deadlines from July 23 to August 31, 2021 to correct the violations. ¶¶58, 61-69. See
  also Def. Ex. Z. Moreover, to support the falsity of later statements and the ongoing uncorrected nature of the
  violations, the FAC alleges that USDA inspectors continued to cite the Company in October 2021, November 2021,
  March 2022, and May 2022. ¶¶70-106. Misrepresentations and omissions of then-existing facts and circumstances
  such as those alleged here are not, by definition, fraud-by-hindsight. See Marwil v. Ent & Imler CPA Grp., PC, 2004
  WL 2750255, at *5 (S.D. Ind. Nov. 24, 2004) (plaintiff’s pleading of “a factual basis for believing that the defendant
  knew or was reckless in not knowing about misleading representations or omissions at the time the actions allegedly
  occurred, prior to any later disclosure” does not constitute fraud by hindsight).


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  omissions during the Class Period, including in the October 5, 2021 Proxy8 and November 5, 2021

  Press Release (¶¶172-82), which included, inter alia, allegedly false and misleading statements

  regarding Envigo’s “research-quality animals” (¶173), “high-quality small and large research

  models for basic research and drug discovery and development” (¶181), and “high degree of focus

  on animal welfare” (¶176) that continued to be materially false and misleading and omit material

  information for the same reasons. ¶¶177-79, 182.9

           Starting in November 2021, Defendants continued to conceal the truth about the

  Cumberland Facility and responded to criticism of the facility by denying and/or downplaying

  suggestions that the Company was engaging in serious AWA violations and otherwise falsely

  claiming that the Company was taking all “necessary corrective actions for all issues” identified

  by USDA inspectors. ¶¶191-98. These alleged misrepresentations and omissions include:

      •    A November 11, 2021 statement responding to animal rights activists’ criticisms of the
           Cumberland Facility that effectively denied the activists’ allegations and misleadingly
           noted that the Company had “participated in” two still undisclosed USDA inspections at
           which inspectors had provided only “feedback” that was purportedly being incorporated
           by the Company, and again touting that “[t]he highest quality animal welfare is a core value
           of our company and is central to our business” and that the company “remain[ed] steadfast
           in [its] commitment” to animal welfare. ¶¶191-94.

      •    A November 16, 2021 statement responding to activists’ release of July 2021 Inspection
           reports that again effectively denied and/or sought to downplay inspectors’ findings and
           claimed that the Company was “tak[ing] the necessary corrective actions for all issues
           outlined in the reports” and “making an ongoing effort” to address “feedback” from
           inspectors, while again touting a purported commitment to “[t]he highest quality of animal
           welfare [that] is a core value of our company and is central to our business.” ¶¶196-98.

           The false and misleading nature of these statements is further supported by the fact that


  8
   For the §14(a) claim, the September 21 Investor Presentation and Merger Agreement addressed above are included,
  along with the Proxy itself, within the Proxy Solicitations that are the focus of that separate claim. See ¶¶307-321.
  9
    Defendants mischaracterize the FAC’s allegation that the Board “[took] into account the results of Inotiv’s due
  diligence review of Envigo” in determining whether to approve the Envigo acquisition (¶¶174, 178). It is not Lead
  Plaintiff’s contention that Inotiv’s Board “disregarded or ignored” (Def. Br. at 18 n.13) any aspect of the due diligence
  review described in the Proxy. Rather, this supports the allegation that Defendants omitted material information from
  investors that was learned through the extensive due diligence review of Envigo, including but not limited to the Due
  Diligence Tour (as well as Defendants’ scienter for purposes of the §10(b) claim). ¶¶174, 178.


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  USDA inspectors again found serious AWA violations in October 2021 (the results of which

  remained undisclosed at the time) that persisted through the November 2021 Inspection—which

  began on the same day as the November 16 Statement. ¶¶70-85, 197-98.10

           Defendants continued to make false and misleading statements and material omissions,

  including Defendant Wilbourn’s February 3, 2022 testimony at the Virginia Senate Hearing, where

  Wilbourn downplayed USDA inspectors’ findings and provided assurance that the Company was

  “working hard to fix the current issues and [has] already taken many steps towards doing so” and

  was “doing everything we can” to ensure the compliant operation of the Cumberland Facility.

  ¶¶206-11. Wilbourn also:

       •   Minimized and denied the continuing nature of the serious AWA violations as mere
           “temporary lapses” due to the pandemic that, according to Wilbourn, the Company had
           acted “immediately” and “swiftly” to address. ¶¶208-12.

       •   Testified that the Company was focused on the “highest animal welfare standards” and was
           “working hard to fix” the issues identified by the USDA. ¶¶207-08.

           Wilbourn’s testimony was false and misleading and omitted material facts for the same

  reasons that Defendants’ prior statements were false and misleading (¶212), and also because it

  concealed the fact that USDA inspectors again found substantially similar ongoing AWA

  violations during the November 2021 Inspection—which Defendant Wilbourn knew of no later

  than the December 17, 2021 exit briefing (¶85) and were far more extensive than what was

  eventually disclosed (see n.10)—which contradicted Wilbourn’s statements about the Company’s


  10
    In fact, according to a recent investigative article published by Reuters on March 9, 2023, USDA inspectors’ findings
  that were reported to Inotiv after the November 2021 Inspection were even worse than what was reflected in the
  inspection report that was eventually made public. As reported by Reuters, USDA inspectors’ initial report
  documented 107 pages of details regarding AWA violations from the November 2021 Inspection. See Sarah N. Lynch
  and Rachel Levy, Exclusive: US probe of dog breeder scrutinizes why USDA left thousands of beagles to suffer,
  Reuters (Mar. 9, 2023), https://www.reuters.com/legal/us-probe-beagle-breeder-envigo-scrutinizes-top-animal-
  welfare-officials-inaction-2023-03-09/. According to Reuters, “after lawyers for Envigo contacted [the APHIS
  Deputy Administrator],” the agency’s leadership ordered the inspection team to cut its report to a mere 22 pages. A
  copy of the initial report linked within the Reuters article confirms that Defendant Wilbourn was present at the
  December 17, 2021 exit briefing at which the USDA’s more extensive findings were communicated to the Company.


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  purported corrective actions, and belied her claims that such violations were temporary and her

  suggestion that the Company was correcting those issues. ¶¶212-14.11

           The FAC also alleges that Defendants made additional false and misleading statements and

  material omissions regarding the Cumberland Facility in a quarterly SEC filing filed on February

  16, 2022 and during a quarterly earnings call on May 13, 2022. ¶¶216-227. Specifically, the FAC

  alleges that, in those statements, Defendants again misrepresented that animal models bred and

  sold by the RMS segment (which included Cumberland beagles) were “research-quality” and

  failed to disclose that AWA violations persisted at the Cumberland Facility as shown by

  inspections that occurred just weeks prior to or after Defendants’ statements.

                    2. The FAC Sufficiently Alleges Defendants’ Materially False and Misleading
                       Statements and/or Material Omissions Regarding the NHP Business

           The FAC alleges that Defendants made false and misleading statements and material

  omissions regarding the NHP-related businesses acquired from Envigo and OBRC, including that

  Defendants concealed that the Company’s principal supplier of NHPs was the focus of an ongoing

  criminal investigation into the unlawful importation of those critical research models that posed a

  material risk to the Company,12 and that Envigo and OBRC had received criminal subpoenas as


  11
     Defendants erroneously contend that Wilbourn’s testimony could not have been false or misleading based on the
  results of the November 2021 Inspection. Def. Br. at 20 n.16. This ignores allegations regarding the timing of the
  November 2021 Inspection, deadlines set for the Company’s compliance, and Wilbourn’s participation in the
  December 17, 2021 exit briefing. ¶¶77-85. Similarly, Defendants’ suggestion that the results of the March and May
  2022 Inspections cannot support the falsity of Wilbourn’s testimony (Def. Br. at 20 n.16) makes no sense. The fact
  that USDA inspectors later found the same or substantially identical AWA violations unquestionably renders
  statements concerning remedial efforts purportedly undertaken false and misleading given that those inspections
  confirmed that the Company had not done what was required of it. See Pub. Pension Fund Grp. v. KV Pharm. Co.,
  679 F.3d 972, 984 (8th Cir. 2012) (plaintiffs sufficiently pled statements about regulatory compliance were false and
  misleading where noncompliance continued despite “repeated warnings” from FDA regarding their violations).
  12
    Defendants implausibly contend that the FAC does not sufficiently link the Company’s principal supplier of NHPs
  to the Criminal Investigation. Def. Br. at 21-22. This is not only belied by the ultimate indictment of six executives
  from the Company’s Asia-based “principal supplier” of NHPs (¶17), it ignores allegations regarding the history of the
  Criminal Investigation (¶¶110-20), including but not limited to the fact that OBRC had engaged in conduct sufficient




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  part of that investigation in June 2021 and were producing documents in response thereto.13

  Access to a supply of NHPs—from a “limited international source of supply”—is vitally important

  to Inotiv’s business and was a material consideration supporting Inotiv’s acquisition of Envigo and

  the sole justification for the acquisition of OBRC. ¶¶8-9, 14-15, 38-40, 110-11, 119, 170, 201.

  Moreover, as a seller of NHPs, supply constraints made NHPs unbelievably valuable, with prices

  for each animal more than tripling to as much as $35,000 per animal. ¶8.14

           Defendants do not contest, and thus concede, that certain of the alleged misrepresentations

  and omissions regarding NHPs are actionable. These include misrepresentations and omissions in

  the two Primate Fact Sheets, which were continuously available on a Company website starting

  on November 5, 2021. ¶¶186-89. The Primate Fact Sheets, which speak to the “high quality” and

  “future availability” of the Company’s NHPs state that the Company is “the world’s largest and

  most trusted source” of “high-quality” NHPs and tout the Company’s ability to “procure high-

  quality” NHPs from “high-quality breeding farm partners.” ¶¶186-89. Defendants also do not

  challenge the following statements made by Leasure during the Jefferies Conference:

       •   That the Company has “an extensive supply of rhesus and cynomolgus models” (¶187);

       •   That the Company “routinely conducts extensive audits of each farm to ensure supplier
           facilities are well maintained, the animals are well-cared for and healthy, and the export



  for it to have been identified as an unindicted co-conspirator in the smuggling ring (¶118) and the fact that the Criminal
  Investigation and its scope were known to or would have been known to Defendants through due diligence efforts and
  Leasure’s and Inotiv’s connections to the individual, Gary Tucker, who was, at the time, the only person charged with
  and convicted of offenses related to the Criminal Investigation (¶¶112-119, 126-28).
  13
    Defendants’ due diligence of Envigo—which included two visits to the Envigo primate facility in Texas prior to the
  Class Period—revealed or would have revealed the pending Criminal Investigation, subpoena to Envigo, and Envigo’s
  production of documents to the DOJ, as well as the government’s focus on Vanny, the principal NHP supplier. ¶¶119,
  126; see also ¶¶112-115 (describing the history of the Criminal Investigation that Defendants would have learned
  about, or were reckless in not learning about, through the due diligence process before the Envigo acquisition).
  14
     Inotiv’s NHP business is part of the RMS segment—its largest and most valuable—that included “large research
  models,” a category that also included canines (i.e., the research beagles discussed above). The RMS segment
  accounted for more nearly three quarters of the Company’s revenues and 80% of pro forma adjusted EBITDA (¶¶7,
  39); large research models alone accounted for more than 47% of Envigo’s pre-acquisition revenues and was estimated
  to account for nearly a third of combined Envigo/Inotiv revenues (¶¶39, 170).


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           facilities are of high quality” (¶188);

       •   That the Company is “very selective in our breeding farm partners,” carries out an
           “extensive audit program” of supplier facilities, and can provide clients with the ability to
           “procure … [NHPs] when and where you need them” (¶189); and

       •   That the Company acquired Envigo to address, among other things, “a concern that we did
           not have a significant source [of NHPs] that we could rely upon,” which provided a unique
           “competitive advantage” in that “we’re the only CRO that has access to all the research
           models” (¶201).15

  As noted above, because the Defendants do not challenge these statements, the Court must deny

  Defendants’ motion to dismiss in its entirety. See Pierrelouis, 2021 WL 1608342, at *10.

  Nevertheless, all of the FAC’s alleged misstatements and omissions are actionable.

           Defendants’ misrepresentations and omissions regarding NHP matters began on September

  21, 2021 in connection with the announcement of the Envigo acquisition and continued through

  the OBRC acquisition and throughout the Class Period, including:

       •   Representations concerning the Company’s full legal compliance (including but not limited
           to its not acting in violation of the law and not being in receipt of any documents asserting
           lack of compliance with legal or regulatory requirements), which failed to disclose the June
           2021 grand jury subpoena to Envigo (and, after January 2022, the subpoena to OBRC) and
           the fact that the Company’s principal supplier of NHPS was a focus of the Criminal
           Investigation (¶¶169, 171);

       •   Representations in the Primate Fact Sheets touting that the Company is “the world’s largest
           and most trusted source” of “high-quality” NHPs and can “procure high-quality” NHPs
           from “high-quality breeding farm partners” (¶¶186-89);

       •   Leasure’s statements at the November 16, 2021 Jefferies Conference that the Envigo
           acquisition had addressed “some of the risk we had to our business model” with respect to
           “supply chain in our access to research models, which is becoming more and more of a
           problem and is like a limiting resource”—with specific reference to NHPs as being a
           concern addressed through the acquisition, which put the Company in a unique position of
           being “the only CRO that has access to all the research models,” which was a “real


  15
     Although Defendants challenge certain of Leasure’s statements at the Jefferies Conference—e.g,, Def. Br. at 16
  (Cumberland Facility compliance), 21-22 (statements concerning product quality and leading position), 24 n.25
  (puffery, Section B.3.c., infra), 25 (statements of opinion, Section B.3.c., infra)—they do not directly challenge the
  sufficiency of allegations concerning Leasure’s representations that the Envigo acquisition eliminated risk by
  providing supply chain access to NHPs, which were recognized to be a critical resource in short supply, and put Inotiv
  in a unique position among CROs due to its “access to all the research models.”


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           competitive advantage right now with the supply and demand chain where it is today”
           (¶¶199-201);

       •   In announcing the OBRC acquisition on January 27, 2022, Defendants further touted that
           the Envigo acquisition made the company “a leader in primate welfare and supply” and
           stated that the acquisition of OBRC would “accelerate growth, provide scale, and ensure
           that client needs are met with the highest level of animal welfare” (¶204);

       •   Defendant Leasure’s statement on January 27, 2022 that acquiring OBRC would “provide
           increased access to critical research models” and “the highest level of service, animal
           welfare, and enhanced supply chain logistics” (Id.);

       •   Defendant Leasure’s May 13, 2022 statement to assure investors that the purchase of
           OBRC had protected Inotiv from industry-wide NHP supply constraints as it “provides an
           opportunity to further expand our services and address client needs at a time when the
           industry demand is outstripping supply” (¶224);16 and

       •   Defendant Leasure’s August 10, 2022 response to a direct analyst question about “what
           you are seeing in . . . the supply side of your [NHP] business,” in which Leasure specifically
           referred to suppliers in Cambodia (the country from which two government officials were
           indicted in the Criminal Investigation) and noted that “it’s hard to get that information
           directly over the phone” (¶232).17

                    3. Defendants’ Arguments Regarding Falsity and Materiality Fail

           Defendants’ patchwork of arguments attacking the alleged false and misleading statements

  and material omissions all fail.

                             a) The FAC Alleges a Duty to Disclose

           Contrary to Defendants’ arguments (Def. Br. at 11-14), the FAC alleges bases upon which

  Defendants had a duty to disclose the allegedly concealed information. First, the FAC alleges that



  16
    Defendants similarly made false and misleading statements and material omissions regarding NHPs—including the
  failure to disclose grand jury subpoenas to Envigo and OBRC and the focus of the Criminal Investigation on the
  Company’s “principal supplier” of NHPs—in statements made on February 16, 2022 (the Q1 2022 Form 10-Q, ¶¶216-
  19, 222), May 16, 2022 (the Q2 2022 10-Q, ¶¶228-30), and August 12, 2022 (the Q3 2022 Form 10-Q, ¶¶234-36).
  17
      Defendants contend that Lead Plaintiff lacks standing to assert claims based on the last two alleged
  misrepresentations, which were made after its last purchase of Inotiv stock on May 26, 2022. Def. Br. at 22 n.21.
  Because those statements continued to omit the same information concealed from investors throughout the Class
  Period (i.e., that the Criminal Investigation focused on the Company’s principal NHP supplier), it would not alter the
  Class definition or the Class Period here given that the FAC alleges that the truth was not fully revealed regarding the
  NHP misrepresentations and omissions until November 17, 2022. Moreover, “[l]ead plaintiffs need not have standing
  to sue for every claim on every day of the class period.” Shapiro v. TG Therapeutics, Inc., 2022 WL 16555585, at *4
  (S.D.N.Y. Oct. 31, 2022) (citation omitted).


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  Defendants’ statements regarding the Envigo and OBRC acquisitions, the RMS segment, and the

  Cumberland Facility and/or the NHP business were rendered false and misleading by the failure

  to disclose the serious AWA violations that existed at the Cumberland Facility prior to and during

  the Class Period, the June 2021 grand jury subpoenas to Envigo and OBRC in the Criminal

  Investigation, and the Criminal Investigation’s focus on the Company’s principal supplier of

  NHPs. See Section III.B, supra. “[U]pon choosing to speak, one must speak truthfully about

  material issues.” Caiola v. Citibank, N.A., New York, 295 F.3d 312, 331 (2d Cir. 2002). See also

  Ackerman v. Schwartz, 947 F.2d 841, 848 (7th Cir. 1991) (under Rule 10b-5 even the lack of an

  independent duty “does not excuse a material lie”). Here, a reasonable investor would have

  understood Defendants’ representations to mean that the acquisitions of Envigo and OBRC were

  reducing and not increasing risks to the Company. See, e.g., No. 84 Employer-Teamster Joint

  Council Pension Trust Fund v. America West Holding Corp., 320 F.3d 920, 935 (9th Cir. 2003)

  (“a reasonable investor would consider the potential effects of [investigations] on the overall

  economic health of the company as significantly altering the total mix of information made

  available”) (citation and internal quotation marks omitted); In re BioScrip, Inc. Sec. Litig., 95 F.

  Supp. 3d 711, 727 (S.D.N.Y. 2015) (statements regarding potential investigations and subpoenas

  were misleading “because the inference is available that a reasonable investor could have read

  them to mean that [defendant] was not already in receipt of just such a request for information”).18

          Second, Defendants violated the affirmative disclosure duties imposed by Regulation S-K




  18
     Defendants’ authority is inapposite. See Heavy & Gen. Laborers’ Loc. 472 & 172 Pension and Annuity Funds v.
  Fifth Third Bancorp, 2022 WL 1642221, at *15 (N.D. Ill. May 24, 2022) (unlike here, where Envigo and OBRC
  received grand jury subpoenas several months earlier, a CFPB investigation did not, “on its own” trigger a duty to
  disclose); In re Lions Gate Ent. Corp. Sec. Litig., 165 F. Supp. 3d 1, 13 (S.D.N.Y. 2016) (defendants had not made
  statements regarding the subject matter of an investigation that were “rendered materially misleading by omitting
  information about the investigation”).


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  Items 303 (17 C.F.R. § 229.303)19, 103 (17 C.F.R. § 229.103)20, and 105 (17 C.F.R. § 229.105)21

  by failing to disclose, among other things, the following material information in the Proxy and

  Forms 10-Q and 10-K (including those incorporated by reference in the Proxy):

       (a) that, in June 2021, Envigo and OBRC received grand jury subpoenas in the Criminal
           Investigation;

       (b) that, as a result of the Criminal Investigation and its focus on the Company’s principal NHP
           supplier, Inotiv was exposed to risk that federal law enforcement could take actions that
           could result in significant costs and expenses or harm to the Company, including potential
           penalties or reputational damage to the Company, as well as cessation of NHP imports;

       (c) that USDA inspectors had found serious and ongoing AWA violations at the Cumberland
           Facility that had not been remedied sufficiently;

       (d) that, as a result of the USDA findings, the ongoing violations, and the Company’s
           inadequate response, Inotiv was exposed to present and mounting risks that the inspection
           process was likely to result in civil or criminal actions that could result in significant costs
           and expenses and reputational damage to the Company; and

       (e) that the Criminal Investigation and AWA violations at the Cumberland Facility could
           adversely affect the Company’s financial results.

           While the truth of the AWA violations at the Cumberland Facility began to emerge starting

  on November 15, 2021 (which the Company promptly denied, see above), it was not until February

  16, 2022 that the Company first disclosed the June 2021 subpoena to Envigo, not until May 20,

  2022 that the Company acknowledged the severity of violations at the Cumberland Facility that

  resulted in a raid on the Cumberland Facility, and not until November 17, 2022 that the Company

  disclosed that the Criminal Investigation resulted in indictments of “employees of the Company’s

  principal supplier” of NHPs, which further revealed that recently-acquired OBRC was an



  19
    See Shah v. Zimmer Biomet Holdings, Inc., 2020 WL 5627171, at *2 (N.D. Ind. Sept. 18, 2020) (Item 303 requires
  companies to “[d]escribe any known trends or uncertainties that have had or that the registrant reasonably expects will
  have a material favorable or unfavorable impact on net sales or revenues or income from continuing operations”).
  20
    See Greengrass v. Int'l Monetary Sys. Ltd., 776 F.3d 481, 483 (7th Cir. 2015) (Item 103 requires companies to
  describe material legal proceedings, including the principal parties and facts giving rise to the proceedings.
  21
     See Allison v. Oak St. Health, Inc., 2023 WL 1928119, at *8 (N.D. Ill. Feb. 10, 2023) (Item 105 requires “a
  discussion of the material factors that make an investment in the registrant or offering speculative or risky”).


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  unindicted co-conspirator in the primate smuggling ring described in the Federal Criminal Matter.

  The failure to disclose this material information therefore violated the disclosure obligations

  imposed by Items 303, 103, and 105; Defendants falsely led investors to believe that the Company

  was not exposed to any material risks other than those already disclosed.

                             b) Inotiv’s Risk Disclosures Did Not Sufficiently Caution Investors
                                Regarding the Concealed Information

           Defendants raise factual arguments that investors were sufficiently warned of all material

  risks concerning the Cumberland Facility and the NHP business by pointing to certain boilerplate

  risk disclosures made by the Company. Def. Br. at 12-14. Those disclosures, however, only

  generically speak to the fact that the Company is “subject to a variety of governmental

  regulations,” its facilities are “subject to routine formal inspections,” and that a failure to comply

  could harm the Company’s business. Id. Fatal to Defendants’ argument, the Company’s generic

  risk disclosures did not address then-existent, specific risks associated with (1) the USDA

  inspections of the Cumberland Facility and the repeated findings of serious non-compliance with

  the AWA; and (2) the grand jury subpoenas to Envigo and OBRC and the risk that the Criminal

  Investigation was focused on the Company’s “principal supplier” of NHPs. Thus, Defendants

  cannot contend that investors were informed of those risks; indeed, the FAC pleads that certain of

  these and similar representations were, in fact, false and misleading.22



  22
    See In re BHP Billiton Ltd. Sec. Litig., 276 F. Supp. 3d 65, 83 (S.D.N.Y. 2017) (generic risk disclosures that failed
  to address known facts, including that certain facilities “may not comply with our standards,” were insufficient when
  the company knew that standards were not being applied); Menaldi v. Och-Ziff Capital Mgmt. Grp. LLC, 164 F. Supp.
  3d 568, 583-84 (S.D.N.Y. 2016) (disclosures that the company was subject to scrutiny that “has resulted or may in the
  future result in regulatory agency investigations, litigation, and subpoenas” were insufficient as they “misled investors
  by suggesting that the company was not facing an investigation that could have a material impact on its business,
  when, in fact, it was facing such an investigation”). While the Inotiv 10-K filed on December 21, 2021 includes
  language addressing the Cumberland Facility, it said nothing about the risks from the Criminal Investigation, and the
  FAC alleges that certain information about the Cumberland Facility had already begun to enter the market on
  November 15, 2021. Moreover, the FAC further alleges that Defendants issued a statement on November 16, 2021
  effectively denying the USDA’s findings and the Company continued to publish the Cumberland Fact Sheet
  throughout the Class Period (which Defendants do not contest alleges actionable misstatements and omissions).


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                            c) None of the Alleged Misrepresentations or Omissions are “Puffery”
                               or Non-Actionable Statements of Opinion

          Defendants wrongly contend that certain alleged misrepresentations or portions thereof

  cherry-picked from the FAC are “puffery.” Def. Br. at 24-25. This argument miscasts the FAC’s

  allegations, ignores the context of those statements, and advances an attack on materiality

  grounded in fact-based contentions as to which courts should proceed cautiously on a motion to

  dismiss because “[t]he crux of materiality is whether, in context, an investor would reasonably rely

  on the defendant’s statement as one reflecting a consequential fact about the company.” Makor

  Issues & Rts., Ltd. v. Tellabs, Inc. (Tellabs I), 437 F.3d 588, 596 (7th Cir. 2006), as modified on

  denial of reh'g (July 10, 2006), vacated and remanded, 551 U.S. 308 (2007). The FAC alleges

  why the alleged false and misleading statements and material omissions constituted consequential

  facts about the acquired beagle breeding and NHP businesses. See Section III.B, supra.

          Contrary to Defendants’ characterizations, the portions of the statements that they identify

  do not constitute puffery.23 The FAC alleges that Defendants failed to comply with AWA

  requirements as detailed in reports of USDA inspections of the Cumberland Facility prior to and

  during the Class Period and in declarations of individuals who executed a federal search warrant

  in May 2022. ¶¶95, 243. The FAC also alleges that Defendants concealed the Company’s

  connection to an ongoing criminal investigation into the importation of NHPs from Inotiv

  investors. ¶¶110-120. Viewing the statements “in the context of the ‘total mix’ of information,”



  23
    Moreover, Defendants do not challenge, and thus concede, that other portions of the challenged misrepresentations
  and omissions are actionable. See e.g., ¶¶161-170 (multiple statements made on September 21, 2021), ¶¶173-176
  (Proxy statements); ¶¶186-88 (statements in the High Quality Fact Sheet concerning the Company’s long experience,
  “extensive supply” of NHPs, being “well-positioned even in today’s constrained supply market,” and conducting of
  “extensive audits of each [NHP] farm”); ¶189 (statements in the Future Availability Fact Sheet about being “selective
  in our breeding farm partners” and “extensive audit program”); ¶193 (multiple statements falsely denying criticisms
  of the Cumberland Facility); ¶¶200-01, 204 (various statements touting purported benefits of the Envigo acquisition
  including that it addressed risk to the company though, among other things, providing supply to large models); ¶¶206-
  210 (numerous statements in Defendant Wilbourn’s Virginia Senate testimony).


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  statements regarding research model quality and suggesting compliance with animal welfare

  standards are material given the regulatory environment in which Inotiv operates. See City of

  Sterling Heights Gen. Employees’ Ret. Sys. v. Hospira, Inc., 2013 WL 566805, at *23 (N.D. Ill.

  Feb. 13, 2013) (statement that company was working to meet “highest level of compliance and

  quality” was not puffery as a matter of law); see also Novak v. Kasaks, 216 F.3d 300, 315 (2d Cir.

  2000) (statements that inventory was “in good shape” or “under control” were not puffery). Given

  that many of these statements were made in the context of the acquisition of Envigo, these

  statements were not only material to the market, but also material to how shareholders would vote

  on the matters necessary to effectuate the Envigo acquisition.24

           Likewise, contrary to Defendants’ argument, certain statements regarding how Defendants

  were responding to USDA-identified AWA violations are not inactionable opinions.                                First,

  although Defendants rely on Omnicare, Inc. v. Laborers Dist. Council Const. Indus. Pension Fund,

  575 U.S. 175, 178 (2015), that case addresses claims brought under §11 of the Securities Act; the

  Seventh Circuit has yet to clarify whether Omnicare applies to §10(b) or §14(a) allegations. Even

  assuming Omnicare applies—and that the challenged statements are opinions—Defendants’

  statements are still actionable. Omnicare states that “whether an omission makes an expression of

  opinion misleading always depends on context.” 575 U.S. at 190. Critically, “Omnicare

  nevertheless provides that an opinion statement can still be actionable as misleading in three ways:

  (1) the speaker did not hold the belief professed; (2) the opinion statement contained supporting


  24
     Defendants’ reliance on Ong v. Chipotle Mexican Grill, Inc., 294 F. Supp. 3d 199, 232 (S.D.N.Y. 2018), is
  misplaced. Unlike here, the plaintiff in Ong did not allege a failure to undertake quality and food safety programs,
  “but merely quibble[d] with Chipotle’s execution of those programs and procedures.” Id. at 232. Defendants also
  mistakenly rely on Employees’ Ret. Sys. v. Whole Foods Mkt., Inc., 905 F.3d 892, 902 (5th Cir. 2018) and In re
  Stratasys Ltd. S'holder Sec. Litig., 864 F.3d 879, 882 (8th Cir. 2017). Neither case involves statements offered in the
  context of an acquisition. Moreover, in Stratasys, the court held that statements of a printer’s “unmatched speed” and
  quality were nonverifiable, unlike here where the FAC alleges that Envigo’s beagles did not meet researchers’
  requirements and other statements concerning Envigo and OBRC that were not only verifiable but within the scope
  of Defendants’ due diligence prior to those acquisitions.


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  facts which were untrue; or (3) the statement omits material facts about the company’s inquiry into

  or knowledge regarding a statement of opinion when ‘those facts conflict with what a reasonable

  investor would take from the statement itself[.]’” Fryman v. Atlas Fin. Holdings, Inc., 2022 WL

  1136577, at *14 (N.D. Ill. Apr. 18, 2022) (citation omitted). Even statements that are “literally

  true can still be actionable under §10(b) as misleading if they are susceptible to another

  interpretation by a reasonable investor.” Id. at *11 (citation omitted).

          Here, each of the challenged statements contains untrue supporting facts and/or omits

  material facts about the Company’s AWA noncompliance, rendering the statements misleading.25

  For example, the statement by Leasure that “we see Envigo as a best-in-class provider of high-

  quality research models and services” (1) is untrue given the reality of conditions at the

  Cumberland Facility that Leasure saw on the Due Diligence Tour and that were documented by

  the USDA, (2) contains an untrue supporting fact regarding the research quality of the Cumberland

  beagles based on their aggression and unsuitable behavior, and (3) is materially misleading in the

  context of a conference call where a reasonable investor would expect statements to convey a

  speaker’s basis for holding that view. See Omnicare, 575 U.S. at 188 (a reasonable investor may

  “understand an opinion statement to convey facts about how the speaker has formed the opinion”).

  Further, these statements were made in controlled settings where the speaker had ample familiarity

  with the subject matter prior to offering the statements, in contrast to Supreme Industries, which

  contrasted a prepared statement to an unscripted, “off-the-cuff” statement not at issue here. See In

  re Supreme Indus., Inc. Sec. Litig., 2018 WL 2364931, at *12 (N.D. Ind. May 23, 2018).




  25
    Defendants cherry-pick a handful of portions of larger statements as supposed non-actionable opinions and do not
  claim the entirety of those statements to be opinions. Def. Br. at 25-26. The statement at ¶163 was given during the
  Company’s business combination conference call announcing the acquisition of Envigo. The statements at ¶¶193-94
  were from a longer statement in response to activists’ criticisms of the Cumberland Facility. The statements at ¶¶210
  and 225 are only portions of Defendant Wilbourn’s during testimony before the Virginia Senate Hearing.


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                             d) The Cumberland Facility was Material to Investors

           Defendants incredibly suggest that the alleged misrepresentations and omissions regarding

  the Cumberland Facility were not material to investors. Def Br. at 26-27. In addition to raising a

  factual dispute that is not appropriate on a motion to dismiss, Defendants’ sole support for this

  argument comes from a June 13, 2021 press release in which Inotiv sought to assure investors that

  closure of the troubled Cumberland Facility would be a positive for the company by claiming,

  among other things, that the facility comprised “less than 1% of our total Inotiv revenue.” See

  ¶263; Def. Ex. M at 4. This assertion is unverifiable based on the Company’s prior disclosures of

  RMS segment and large model revenues, which did not break out revenues by facility or large

  model species and is otherwise inconsistent with the FAC’s allegations concerning the materiality

  of the Cumberland Facility to investors (see Section III.B, supra). Moreover, the market’s strong

  negative reaction to news about the Cumberland Facility (see Section III.D, infra) belies

  Defendants’ argument that the issue was not material to investors.26 Further, the Company’s own

  extensive response to the negative publicity surrounding release of the July 2021 USDA inspection

  reports—including but not limited to Leasure’s personal participation in lobbying efforts and

  retention of influential Virginia lobbyists (¶156) and Wilbourn’s assertion that the Company was

  engaged in an “all hands on deck exercise” (¶210)—demonstrates the materiality of the issues.

                             e) If any Statements Were Forward Looking, They are Not Protected

           Defendants’ arguments that certain portions of alleged misrepresentations and omissions

  are protected “forward-looking” statements (Def. Br. at 27-28) misstate the FAC’s allegations and

  fail as a matter of law. Other than a statement concerning the Company’s intent to rebrand


  26
    See, e.g., Grimes v. Navigant Consulting, Inc., 185 F. Supp. 2d 906, 912-13 (N.D. Ill. 2002) (“in an efficient market,
  the materiality of disclosed information may be measured post hoc by looking to the movement, in the period
  immediately following disclosure, of the price of the firm’s stock…”) (citation omitted); Frater v. Hemispherx
  Biopharma, Inc., 996 F. Supp. 2d 335, 347 (E.D. Pa. 2014) (stock “drop subsequent to disclosure strongly suggests
  that the withheld and/or misrepresented information was material information to investors”).


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  Envigo’s operations under Inotiv’s name, Defendants did not specify which portions of the three

  statements they reference to be forward looking.27 Regardless, the PSLRA “safe harbor” requires

  any statement identified as forward looking to be (as Defendants’ acknowledge) accompanied by

  “meaningful” cautionary language.               See, e.g., Pierrelouis, 2021 WL 1608342, at *9-11

  (meaningful cautionary language must do more than warn of potential problems; defendants

  cannot “imply[] that no such problems were on the horizon even if a precipice was in sight” or fail

  to acknowledge that a particular risk has already transpired) (citations omitted). For the same

  reasons that the allegedly omitted information was not disclosed to investors, see Section III.B.2,

  supra, Defendants did not provide sufficiently cautionary language to invoke the safe harbor.

           C.       The FAC’s §10(b) Allegations Give Rise to a Strong Inference of Scienter

           To plead scienter to sustain a §10(b) claim, a complaint must “state with particularity facts

  giving rise to a strong inference that the defendant acted with the required state of mind.” See 15

  U.S.C. § 78u-4(b)(2)(A). The requisite state of mind—an intent to deceive—may be shown where,

  as here, it is alleged that the defendant “either knew the statement was false or was reckless in

  disregarding a substantial risk that it was false.” See Makor Issues & Rts., Ltd. v. Tellabs Inc.

  (Tellabs III), 513 F.3d 702, 704 (7th Cir. 2008); Shah v. Zimmer Biomet Holdings, Inc., 348 F.

  Supp. 3d 821, 842 (N.D. Ind. 2018) (same). In the Seventh Circuit, scienter can be established by

  proving that the defendant acted with a “reckless disregard of the truth.” See e.g., Rubinstein v.

  Gonzalez, 241 F. Supp. 3d 841, 854 (N.D. Ill. 2017).

           In considering allegations of scienter, “the court’s job is not to scrutinize each allegation


  27
    Defendants miscast the allegations regarding Leasure’s statement on the intent to “rebrand” all operations under the
  Inotiv name. In addition to being false and misleading, the statement provides support for Defendants’ scienter to the
  extent that keeping the Envigo brand on certain risky or problematic operations (i.e., the Cumberland Facility and
  NHP importing) shows an attempt to conceal those matters from Inotiv’s investors. ¶202.c. Also, Defendants’
  assertion regarding “causation” for this statement is incorrect. The truth of Inotiv’s connection to conditions at the
  Cumberland Facility was revealed to the market through, among other things, Inotiv’s May 20, 2022 announcement
  of the raid on the Cumberland Facility and DOJ Action (in which Envigo was the named defendant).


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  in isolation but to assess all the allegations holistically.” Tellabs, Inc. v. Makor Issues & Rts., Ltd.

  (Tellabs II), 551 U.S. 308, 326 (2007). While the Court must consider a defendant’s plausible

  opposing inferences, any “tie . . . goes to the plaintiff.” Okla. Firefighters Pens. & Ret. Sys. v.

  Lexmark Int’l, Inc., 367 F. Supp. 3d 16, 39 (S.D.N.Y. 2019) (alteration in original) (citation

  omitted); see also Shah, 348 F. Supp. 3d at 842-43. The “inference that the defendant acted with

  scienter need not be irrefutable, i.e., of the ‘smoking gun’ genre, or even the ‘most plausible of

  competing inferences.’” Tellabs II, 551 U.S. at 326. Indeed, scienter may be inferred from

  “circumstantial evidence of conscious misbehavior or recklessness.” Rubinstein v. Gonzalez, 241

  F. Supp. 3d 841, 850 (N.D. Ill. 2017).

         Under this approach, the FAC clearly pleads a strong inference of scienter by setting forth

  a host of detailed allegations supporting a strong inference of scienter, nearly all of which are

  ignored by Defendants. Significantly, Defendants do not contest that their knowledge and/or

  recklessness is shown by allegations of: (1) the involvement of Leasure, Sagartz, and Wilbourn in

  an extensive due diligence process prior to the acquisition of Envigo (¶¶11-14, 45, 119, 243);

  (2) Leasure’s involvement in the OBRC acquisition, including his attendance at a “leadership

  meeting” in Texas where he learned or would have learned of OBRC’s being embroiled in the

  Criminal Investigation focused on the Company’s principal NHP supplier (¶¶128, 243);

  (3) Wilbourn’s and Sagartz’s participation in “exit briefings” with USDA inspectors following

  inspections of the Cumberland Facility at which they were advised of undisclosed material adverse

  facts (¶¶58, 75, 85, 93); (4) the fact that Defendants knew or likely knew of the ongoing Criminal

  Investigation and the sordid history of animal welfare problems at the Cumberland Facility through

  the due diligence process and/or leadership of the Company (¶¶110-20, 146-159); (5) Envigo and

  OBRC responding to subpoenas in the Criminal Investigation (¶¶116-20); (6) Leasure’s personal




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  participation in Virginia lobbying efforts to “crisis manage” following public outrage over

  conditions at the Cumberland Facility (¶156); (7) Wilbourn’s testimony before the Virginia Senate

  regarding her responsibility for the Cumberland Facility and awareness of conditions there (¶¶206-

  10); and (8) the fact that Leasure, Taylor, and Sagartz represented the Company during investor

  conference calls and were held out as knowledgeable sources of information regarding the

  Company and its operations (¶246).28

          Defendants’ brief addresses only two of the myriad scienter allegations in the FAC: (1) a

  fundamentally flawed attack on CW allegations (Def. Br. at 30-32); and (2) a spurious argument

  regarding the core operations doctrine (Def. Br. at 32-33). Defendants also advance an additional

  argument that purported insider stock purchases by certain Defendants undercut scienter. Def. Br.

  at 29. Defendants’ arguments not only fail to tip the balance of inferences in their favor, they

  utterly fail to defeat the whole factual picture of Defendants’ scienter painted by the FAC. See

  AnchorBank, 649 F.3d at 617 (plaintiffs adequately pled scienter, noting that “while the competing

  explanations regarding scienter and reliance could be useful to the trier of fact, they are insufficient

  in this case to justify dismissal for failure to state a claim on which relief can be granted”).

                   1. The FAC’s Uncontested Scienter Allegations Individually and Collectively
                      Support a Strong Inference of Scienter

                            a) Defendants’ own statements and actions demonstrate knowledge or
                               reckless disregard of materially adverse nonpublic information

          Defendants ignore the FAC’s allegations that Leasure and Sagartz had direct knowledge of

  or recklessly disregarded conditions at the Cumberland Facility and the Criminal Investigation



  28
    Speaking on behalf of the Company supports the inference of scienter. See City of Sterling Heights Police & Fire
  Ret. Sys. v. Reckitt Benckiser Grp. PLC, 587 F. Supp. 3d 56, 100 (S.D.N.Y. 2022) (participation in investor calls
  supported scienter); Hedick v. Kraft Heinz Co., 2021 WL 3566602, at *17 (N.D. Ill. Aug. 11, 2021) (a court may
  “readily and reasonabl[y] infer” from defendants’ discussion of certain issues that they “made it [their] business to
  look into” these issues”) (citation and internal quotation marks omitted).


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  after personally participating in an extensive due diligence process and Due Diligence Tour prior

  to the Envigo acquisition. ¶11-14, 43-46. Based on details provided by Defendants in the Proxy,

  Defendants Leasure and Sagartz personally visited 17 of Envigo’s 22 sites from July 20, 2021 to

  August 20, 2021, including the Cumberland Facility and Texas primate facility. ¶¶11-14, 45, 243.

  Critically, Leasure and Sagartz visited Cumberland at the same time that inspectors found serious

  AWA violations to be rampant. As detailed in USDA inspection reports from prior to and during

  the Class Period and the declarations of individuals who participated in the execution of the federal

  search warrant in May 2022, the filthy conditions and aggressive dogs would have been impossible

  to miss. ¶¶95, 243. See e.g. Miller v. Material Scis. Corp., 9 F. Supp. 2d 925, 928-29 (N.D. Ill.

  1998) (“[d]eliberately ignoring ‘red flags’ … can constitute the sort of recklessness necessary to

  support § 10(b) liability”). Similarly, Defendants learned or would have learned through the due

  diligence process and Leasure’s and Sagartz’s visits to the Envigo facility in Texas that Envigo

  had received a subpoena in June 2021 in the Criminal Investigation and that the investigation was

  focused on the Company’s principal supplier of critical NHPs. ¶¶12, 14, 127-28.

         On February 3, 2022, Defendant Wilbourn—who participated in the due diligence process

  as an Envigo employee—testified at the Virginia Senate Hearing regarding the Cumberland

  Facility. ¶¶206-210. Wilbourn testified that she was personally responsible for “ensuring the

  proper and lawful operations” of the Cumberland Facility (¶207) and stated that the Company’s

  “senior management, including me, has been onsite frequently … to address the challenges as

  rapidly as possible” (Def. Ex. R at 5-6). Further, Defendant Leasure traveled to Richmond,

  Virginia to lobby, “crisis manage,” and retain high powered lobbyists in an effort to thwart Virginia

  “beagle bills” prompted by the AWA violations at the Cumberland Facility. ¶156. These facts

  further demonstrate that Wilbourn and Leasure had personal knowledge of the non-compliant




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  conditions at the Cumberland Facility. See Constr. Workers Pension Fund-Lake Cnty. & Vicinity

  v. Navistar Int’l Corp., 114 F. Supp. 3d 633, 661 (N.D. Ill. 2015) (scienter sufficiently pled where

  CEO attended a meeting where relevant matters were discussed).

         Similarly, where Defendants Leasure and Sagartz received extensive business information

  from Envigo during the due diligence process and visited Envigo’s Texas Facility during the

  Diligence Tour, the only plausible inference is that they knew of or were reckless in not knowing

  of the then-recent June 2021 subpoena to Envigo and critical import-related risks facing the NHP

  business from the Criminal Investigation, the acquisition of which Leasure stated was a major

  factor in the Envigo acquisition. ¶¶7-9, 11-12, 14, 43-46, 110-19, 200-01. In June 2021, both

  Envigo and OBRC received subpoenas regarding the DOJ’s criminal investigation into the

  importation of NHPs. ¶116. The subpoenas required the production of documents and the

  Company later claimed to have cooperated with the DOJ in response to the subpoenas. Id. It is

  reasonable to infer Defendants’ scienter on this fact alone because receipt of the subpoenas and

  understanding the nature of the Criminal Investigation transformed any hypothetical risks as to

  NHPs into realized risks requiring full, public disclosure. See Section III.C.1.e, infra.

                         b) Departure of Chief Operating Officer Harkness

         On June 24, 2022, Inotiv announced that Jim Harkness, Chief Operating Officer (“COO”)

  of the RMS segment (including the Cumberland Facility and Texas primate facility) would be

  abruptly “retiring” from the Company. ¶¶237, 247. Prior to the acquisition of Envigo, Harkness

  served as Envigo’s COO and was essential to the due diligence process. ¶237. The sudden

  departure of a key executive who had been involved in matters at the heart of the alleged fraudulent

  conduct supports a strong inference of scienter. See Frank v. Dana Corp., 646 F.3d 954, 960-62

  (6th Cir. 2011) (retirement supported inference of scienter in holistic analysis); In re UTStarcom,

  Inc. Sec. Litig., 617 F. Supp. 2d 964, 976 (N.D. Cal. 2009) (proximity of a departure to disclosure


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  of misconduct “adds one more piece to the scienter puzzle”) (citation and internal quotation marks

  omitted); In re Scottish Re Grp. Sec. Litig., 524 F. Supp. 2d 370, 394 n.176 (S.D.N.Y. Nov. 1,

  2007) (departures “add to the overall pleading of circumstantial evidence of fraud”).

                    2. Defendants’ Limited Challenges to Certain Scienter Allegations Fail

                             a) Allegations of CWs Support Scienter

           Defendants seek to minimize the significance of the CW allegations, discount the

  corroborating nature of those allegations, and erroneously suggest that the CW allegations add

  nothing to the scienter analysis. Def. Br. at 30-32. At a minimum, however, as Defendants

  concede, the CW allegations provide “confirmation” of other scienter allegations with respect to

  Defendants’ participation in the due diligence process. Id. In fact, the FAC’s CW allegations go

  further than that and provide additional support for a strong inference of scienter.29

           Contrary to Defendants’ argument, the Seventh Circuit has recognized that statements from

  CWs can support a strong inference of scienter where, as here, the CWs are described in a manner

  to show that they “were in a position to know at first hand the facts to which they are prepared to

  testify.” Tellabs III, 513 F.3d at 712. Further, where, as here, multiple sources corroborate the CW

  allegations, the inference of scienter is strengthened. Id. at 711-12 (distinguishing Higginbotham

  v. Baxter Int’l, Inc., 495 F.3d 753 (7th Cir. 2007) as addressing circumstances where, unlike here,

  “[t]here was no basis other than the confidential sources” to support scienter). Indeed, as this Court

  has recognized, “a presumption to disregard confidential witness allegations was squarely rejected



  29
    Defendants’ authority regarding the CW allegations is wholly inapposite. Indeed, only one case cited by Defendants,
  Zimmer, includes an analysis of CW allegations. However, unlike here where the CW allegations corroborate other
  scienter allegations and where there are a myriad of allegations supporting the strong inference of scienter, plaintiffs
  in Zimmer relied primarily on CW to support scienter. See Plumbers & Pipefitters Loc. Union v. Zimmer, 673 F.
  Supp. 2d 718, 747 (S.D. Ind. 2009), aff'd sub nom. Plumbers & Pipefitters Loc. Union 719 Pension Fund v. Zimmer
  Holdings, Inc., 679 F.3d 952 (7th Cir. 2012). Defendants also erroneously cite Zimmer to argue that CW allegations
  must indicate “actual knowledge by the defendant,” (Def. Br. at 30) but that only addresses a standard applicable to
  forward-looking statements, which are not at issue here.


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  by the Seventh Circuit in Tellabs III, and district courts, including this one, have credited

  confidential witnesses when sufficient detail as to the basis for their knowledge is alleged.” Shah,

  348 F. Supp. 3d at 844 (citing Tellabs III, 513 F.3d at 712).30

           The FAC describes each confidential witness, all of whom are former employees of the

  Company whose tenures fell within the Class Period and the due diligence period leading up to the

  acquisition of Envigo, with sufficient particularity to support the probability that persons in their

  positions would possess the information alleged. ¶¶121, 129, 133, 143. The FAC describes the

  confidential witnesses by providing details including each witness’s dates of employment and job

  duties. ¶¶121-122, 129, 133, 143. The CWs’ accounts corroborate the fact that Defendants knew

  of or recklessly disregarded both the non-compliant conditions at the Cumberland Facility and the

  Criminal Investigation. Thus, contrary to Defendants’ suggestion, the sufficiently detailed and

  corroborating CW allegations are unlike Higginbotham and consistent with Tellabs III and Shah

  by serving as supplemental support for the FAC’s allegations of a strong inference of scienter.

           Specifically, the CW allegations support a strong inference of scienter regarding

  Defendants’ knowledge and/or recklessness as to the matters concealed from investors by

  corroborating and supplementing the description of the Due Diligence Tour in the Proxy. For

  example, CW2 recalls that a group of Inotiv executives, including Leasure, visited the Envigo site

  in St. Louis for approximately four hours in July or August 2021, during which time Leasure and

  the Inotiv team toured the facility and asked detailed questions. ¶¶130-31. Similarly, CW1 recalls

  that Leasure conducted two full-day visits to the Envigo primate facility in Texas, with Sagartz



  30
     See also United Union Roofers, Waterproofers & Allied Workers Loc. Union No. 8 v. Great Lakes Dredge & Dock
  Corp., 2014 WL 12780549, at *3 (N.D. Ill. Oct. 21, 2014) (plaintiff’s confidential witness statements supported a
  cogent inference of scienter); City of Sterling Heights, 2013 WL 566805, at *17 (court may rely on confidential witness
  allegations if plaintiffs provide “job title, duration of employment …, and a description of employee responsibilities”
  for each confidential witness); In re Ambac Fin. Grp., Inc. Sec. Litig., 693 F. Supp. 2d 241, 283 (S.D.N.Y. 2010)
  (Higginbotham “severely limited” by Tellabs III).


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  participating once. ¶¶125-26. Defendants do not contend that these and other allegations of CW1

  and CW2, describing extensive site visits at which Leasure, Sagartz, and other Inotiv personnel

  obtained detailed information about Envigo’s operations, present an unusual picture of a typical of

  site visit on the Diligence Tour; the most plausible inference is that visits to the Cumberland

  Facility and Texas primate facility were similarly involved.

         The allegations from CW1 and CW3 provide further support for the inference that it would

  have been impossible for Inotiv personnel visiting the Cumberland Facility during the Due

  Diligence Tour to have left the facility without knowledge of the non-compliant conditions at the

  facility. ¶¶122, 133-42. Likewise, facts attributed to CW1 support a strong inference of scienter

  regarding Defendants’ knowledge and/or recklessness regarding the Criminal Investigation and

  related risks involving the importation of NHPs. In addition to observing Inotiv personnel at

  Envigo’s Texas primate facility on at least two occasions in 2021, (¶¶126, 243), CW1 further

  understood that the Criminal Investigation was “general knowledge” among management-level

  Envigo employees at that time, as was similar awareness of the Tucker Matter. ¶¶127-28. CW1

  describes additional bases upon which Leasure (if not other Defendants) learned or would have

  learned of grand jury subpoenas to Envigo and OBRC and other aspects of the Criminal

  Investigation, including through Leasure’s participation in a “leadership meeting” at Envigo’s

  Texas facility prior to the OBRC acquisition, at which the then-convicted Tucker was present;

  attendees were aware of Tucker’s guilty plea and sentencing. ¶¶128, 243.

                        b) The Matters Alleged to Have Been Misrepresented and Omitted
                           Involve “Core Operations” of the Company

         Defendants do not dispute that the alleged misrepresentations and omissions regarding the

  NHP business concern Inotiv’s “core operations” for purposes of scienter. However, Defendants

  erroneously contend that the Cumberland Facility did not fall within the Company’s core



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  operations. Def. Br. at 32-33. Under the core operations doctrine, “officers of a company can be

  assumed to know of facts critical to a business’s core operations or to an important transaction that

  would affect a company’s performance.” Jones v. Corus Bankshares, Inc., 701 F. Supp. 2d 1014,

  1028 (N.D. Ill. 2010). A strong inference of scienter may be credited where, as here, it is “almost

  inconceivable that an individual defendant would be unaware of the matters at issue.” Id. at 1029

  (quoting Desai v. Gen. Growth Properties, Inc., 654 F.Supp.2d 836, 860 (N.D. Ill. 2009)).

           The facts alleged to have been misrepresented and omitted unquestionably support a strong

  inference of scienter under the core operations doctrine because they pertain to business-critical

  operations, including animal husbandry, research model quality control, and the production and

  importation of necessary research models.31 ¶244-45. Inotiv specializes in drug discovery and

  development services that, following the Envigo acquisition, included “breeding, importing and

  selling research-quality animal models for use in laboratory tests.” ¶¶34-35. Moreover, Defendants

  told investors that access to an in-house supply of large research models, a category of animals

  that included research beagles and NHPs, was a primary justification for the acquisition of Envigo

  and OBRC. ¶¶14, 39-40, 121, 170, 181. Thus, as the RMS segment’s business—the largest

  component of Inotiv’s revenues, by far (¶39)—was of critical importance to the Company, the

  clear inference is that it is “almost inconceivable” that facts concerning those critical operations

  would not have been known to Inotiv’s executive officers, including Defendants Leasure, Taylor,

  and Sagartz. See Corus Bankshares, Inc., 701 F. Supp. 2d at 1028-29 (defendant’s “intimate

  involvement” gave rise to strong inference that he was aware of company’s financial troubles under



  31
    Defendants’ authority is easily distinguished. See Zimmer, 673 F. Supp. 2d at 725 (plaintiff did not allege that the
  products at issue were critical to defendant’s core operations); Société Générale Sec. Servs GbmH v. Caterpillar, Inc.,
  2018 WL 4616356, at *8 (N.D. Ill. Sept. 26, 2018) (the court did not engage in any analysis of whether Defendant
  company’s tax position was a core operation and asserted a conclusion on whether defendants believed certain
  opinions); Stavros v. Exelon Corp., 266 F. Supp. 2d 833, 851 (N.D. Ill. 2003) (addressing accounting violations and
  forward-looking statements not at issue here).


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  core operations doctrine). Moreover, in minimizing the initial USDA findings in November 2021,

  the Company itself described the issues at Cumberland as involving “a core value of our company

  [that] is central to our business.” ¶¶197-98.32

           Although Inotiv’s RMS segment accounts for approximately three quarters of the

  Company’s revenue, with large models (beagles, NHPs, and rabbits) having accounted for nearly

  half of Envigo’s pre-acquisition revenue (¶39), Defendants seek to downplay this fact by arguing

  that the Cumberland Facility accounted for “1% of Inotiv’s total revenue and was a net loss for the

  Company.” Def. Br. at 32. Defendants’ inappropriate factual argument fails for the same reason

  as it does for materiality (see III.B.3, supra): the unsupported 1% figure was not previously

  disclosed to investors and was only used to downplay the impact of the Cumberland Facility’s

  closure that was necessitated by settlement of the DOJ Action. The Seventh Circuit has indicated

  that the core operations inference applies where the practices “are a significant part of [a

  company]’s financial picture.” Pension Tr. Fund for Operating Eng’rs v. Kohl’s Corp., 895 F.3d

  933, 937 (7th Cir. 2018). Accordingly, the necessity of proper animal husbandry and regulatory

  compliance in the large model business is not only critical to Inotiv’s core business (both as a seller

  and user of research beagles), but essential to the Company’s reputation and financial picture for

  purposes of contributing to the strong inference of scienter.

                             c) Defendants’ Stock Purchases Do Not Defeat Scienter

           While the FAC does not contain any allegations regarding Defendants’ stock ownership or

  sales, Defendants attempt to conjure up an inference against scienter through the inverse of a


  32
    The importance of the Cumberland Facility to Inotiv is further demonstrated by the sworn declaration of Defendant
  Sagartz filed in the DOJ Action on June 13, 2022. These facts include, but are not limited to: (i) the Cumberland
  Facility “has produced up to 25 percent of the beagle dogs used domestically in the development of new
  medicines”(¶245); (ii) use of “purpose-bred beagle dogs” from the Cumberland Facility was “essential for biomedical
  research and the development of lifesaving drugs and medical devices” (id.); and (iii) such “purpose-bred” dogs were
  “instrumental to evaluating the efficacy and safety of novel medicines”–purposes that were part of Inotiv’s mission as
  a CRO. ¶¶5, 34, 40, 110, 201, 245. This also supports the FAC’s allegations of materiality.


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  suspicious stock sale by pointing to Class Period stock purchases by Leasure, Taylor, and Sagartz.

  However, just as a suspicious stock sale is not necessary to support a strong inference of scienter,

  a miniscule purchase of stock by Defendants does not, by itself, defeat scienter. Here, Defendants

  conveniently failed to note how much stock Defendants purchased on February 17-18, 2022:

  Leasure purchased 5,000 shares to increase his holdings by a mere 1.8% percent; Sagartz

  purchased 2,506 shares, increasing his total holdings by less than 0.4%; and Taylor purchased

  5,000 shares, a less than 6.4% increase in her stock holdings. See Def. Exhibit J. Minor purchases

  of this sort are insufficient to undercut the FAC’s other allegations of scienter. See Pierrelouis,

  2021 WL 1608342, *8 (finding that stock purchases that were “not massive in comparison with

  [defendant’s] other stock holdings” did not undercut allegations of scienter, also noting that

  plaintiff was under no obligation to establish a motive for defendants’ alleged deceit).33

                             d) Receipt of Subpoenas Supports an Inference of Scienter

           Defendants erroneously contend that the FAC does not allege that “Defendants (or anyone

  else)” knew that subpoenas in the Criminal Investigation would result in the indictments in the

  Federal Criminal Matter. Def. Br. at 31-32. The FAC alleges that Envigo and OBRC received

  grand jury subpoenas in the Criminal Investigation in June 2021 and had been producing

  documents in response thereto. ¶116. If Defendants’ own representations regarding due diligence

  are to be believed, it is inconceivable that they did not know or would not have learned that Envigo

  and OBRC received grand jury subpoenas in June 2021 regarding an issue critical to those

  acquisitions and that the companies were producing documents to the government—and that the



  33
    Defendants erroneously rely on W. Palm Beach Firefighters’ Pension Fund v. Conagra Brands, Inc., 495 F. Supp.
  3d 622, 666-67 (N.D. Ill. 2020), which found that insider stock purchases tipped the scienter analysis in defendants’
  favor only where plaintiffs’ other “allegations do not support a strong inference of scienter” and, unlike here,
  “Plaintiffs do not plead particular facts about the diligence process” to show Defendants’ awareness of matters. In re
  Supreme Indus., Inc. Sec. Litig., 2018 WL 2364931, at *11 (N.D. Ind. May 23, 2018) also does not support Defendants’
  argument because, unlike here, plaintiff relied on insider stock sales to support its scienter allegations.


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  investigation was focused on Vanny, the companies’ principal supplier of NHPs. Indeed, many

  federal courts have found that, like here, receipt of and response to a subpoena supports the

  inference of scienter. See, e.g., Washtenaw Cnty. Emps. Ret. Sys. v. Avid Tech., Inc., 28 F. Supp.

  3d 93, 114-15 (D. Mass. 2014) (receipt of DOJ subpoena can be “one more piece of puzzle” in a

  series of circumstances adding up to a strong inference of scienter).34

           D.       The FAC Properly Pleads Loss Causation

           To plead loss causation, a complaint need only allege a “‘short and plain statement’ …

  provid[ing] the defendant with ‘fair notice’” of the plaintiff’s loss-causation theory; pleading loss

  causation is “not meant to impose a great burden upon a plaintiff.” Dura Pharms., Inc. v. Broudo,

  544 U.S. 336, 346-47 (2005) (citation omitted). See also id. at 336 (noting that allegations of loss

  causation are governed by the notice pleading standard of Fed. R. Civ. P. 8). See also Fryman,

  2022 WL 1136577 at *32 (same) (citations omitted). “While proving loss causation is often a

  complex and fact-intensive exercise that typically requires expert testimony, . . . pleading loss

  causation requires no proof, just plausible allegations that when corrective information became

  available to the public, that information caused the share price to drop—not because of the

  information itself, but because the information revealed the falsity of statements by the

  defendants.” In re the Boeing Co. Aircraft Sec. Litig., 2022 WL 3595058, *28 (N.D. Ill. Aug. 23,

  2022) (emphasis in original) (citation omitted). The FAC meets this easily met pleading standard.

           The FAC alleges that, during the Class Period, the Company’s stock price was artificially

  inflated by Defendants’ material omissions and misrepresentations. See Sections I, II, III.B. The




  34
    See also In re Gentiva Sec. Litig., 932 F. Supp. 2d 352, 380 (E.D.N.Y. 2013) (agreeing that the existence of an
  investigation may be considered by court as part of its analysis) (citation omitted); Chamberlain v. Reddy Ice Holdings,
  Inc., 757 F.Supp.2d 683, 713 n. 8 (E.D. Mich. 2010) (attaching relevance to the existence of government
  investigations); In re Bristol Myers Squibb Co. Sec. Litig., 586 F. Supp. 2d 148, 168 (S.D.N.Y. 2008) (including an
  investigation by the DOJ as one of the elements in the scienter analysis).


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  FAC further alleges that the artificial inflation came out of Inotiv’s stock price in a series of partial

  corrective disclosures directly tied to the alleged false and misleading statements and omissions

  concerning the serious AWA noncompliance at the Cumberland Facility and the direct and

  imminent threat to the Company’s NHP business from the Criminal Investigation. ¶¶256-64. With

  respect to the misrepresentations and omissions regarding the Cumberland Facility, the FAC

  alleges that the truth was first partially revealed after release of the USDA’s reports of the July

  2021 Inspection on November 15, 2021, which caused Inotiv’s stock price to fall by $2.80 per

  share, or more than 5%. ¶260. Then, following news of the raid on the Cumberland Facility and

  entry of the Amended TRO, Inotiv’s stock suffered a sharp decline of $5.19 per share (more than

  28%). ¶262. With respect to the misrepresentations and omissions regarding the threat to the NHP

  business, the FAC alleges that the truth was first partially revealed by the February 16, 2022

  announcement that Envigo (but not OBRC) had received a criminal subpoena eight months earlier,

  in June 2021, which—as the financial news service Bloomberg observed at the time—caused a

  two-day decline in the price of the Company’s stock of $8.03 per share, or more than 28%. ¶261.35

  Then, after Inotiv disclosed that “employees of the Company’s principal supplier” of NHPs and

  two Cambodian government officials had been criminally charged with “conspiring to illegally

  import NHPs into the United States,” Inotiv’s stock price plummeted by $9.03 per share, nearly

  57%, to close at $6.82 per share on November 17, 2022.                             ¶264.     These allegations are

  unquestionably sufficient to plead loss causation.

           Ignoring the well pled allegations, Defendants’ fact-based loss causation arguments fail for

  several reasons. First, Defendants assert a fundamentally flawed standard, arguing that corrective

  disclosures must be a mirror image of the alleged misrepresentation or an outright admission of


  35
    Lead Plaintiff also alleges that the February 16, 2022 disclosures were, in part, also partially corrective with respect
  to Defendants’ omissions and misrepresentations regarding the Cumberland Facility.


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  fraud. See Def. Br. at 34.36 That is not the law. See, e.g., Boeing, 2022 WL 3595058 at *28

  (“corrective disclosures need not . . . be a ‘mirror image’ of previous misstatements” and “a

  disclosure is sufficiently ‘corrective’ if it dissipates the price inflation that had resulted from a

  defendant’s misrepresentations or omissions”) (citation omitted).37 Second, Defendants present

  specious factual arguments that must be disregarded at the pleading stage. See Hedick, 2021 WL

  3566602, at *17 (“challenges to the purported disclosures—when information entered the market

  and dissipated the effect of prior misstatements …, and whether certain statements were corrective

  disclosures … are matters to be resolved at a later stage of the case”).

           November 15, 2021 Partial Corrective Disclosure. Defendants do not challenge that the

  partial corrective disclosure on November 15, 2021 revealed information to the market that was

  previously concealed by Defendants. See id. at 34-35. This is fatal to Defendants’ position. See,

  e.g., Boeing, 2022 WL 3595058 at *28. Rather, Defendants raise a premature factual dispute

  regarding movement in the price of Inotiv stock after November 15, 2021. Def. Br. at 34-35.

  Defendants’ arguments ignore the market reaction to corrective information on November 15,

  2021 and raise factual questions about fluctuations in the price of Inotiv’s stock in the four day

  period after the alleged corrective disclosure, ignoring Defendants’ false and misleading




  36
    Defendants’ authority is inapposite. See Ray v. Citigroup Glob. Mkts., Inc., 482 F.3d 991, 995-96 (7th Cir. 2007)
  (addressing issues of proof and sufficiency of evidence at summary judgment where stock had “already collapsed”
  prior to the first corrective disclosure); Lentell v. Merrill Lynch & Co., 396 F.3d 161, 174-75 (2d Cir. 2005) (finding
  that, unlike here, there was no allegation that stock price decline was caused by disclosure of matters misrepresented
  or omitted); Meyer v. Greene, 710 F.3d 1189, 1197-98 (11th Cir. 2013) (unlike here, stock price declines were due to
  news unrelated to the alleged fraud); Transcontinental Indus., Ltd. v. PricewaterhouseCoopers, LLP, 475 F.3d 824,
  843 (7th Cir. 2007) (quoting Dura but finding that, unlike here, information revealed concerned unconnected conduct
  that occurred later than alleged misrepresentations).
  37
    See also Hedick, 2021 WL 3566602, at *17 (“courts around the country have found that plaintiffs may satisfy the
  loss causation pleading requirement ‘without identifying a corresponding, mirror-image prior representation for every
  disclosure that precedes a share price decline’”) (citations omitted).


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  statements of November 16, 2021 downplaying the USDA’s findings (¶197).38 Indeed, denial of

  misconduct may itself result in artificial inflation that may be corrected by a later corrective

  disclosure. See, e.g., In re Tyco Int’l, Ltd., 2004 WL 2348315, at *14 (D.N.H. Oct. 14, 2004) (loss

  causation sufficiently pled where the “stock price declined in part because investors concluded

  that they could no longer credit the company’s denials of accounting misconduct”).39

           February 16, 2022 Partial Corrective Disclosure. Defendants erroneously contend that the

  February 16, 2022 partial corrective disclosure did not reveal new information to the market about

  either the June 2021 subpoena to Envigo or the ongoing AWA violations at the Cumberland

  Facility. Def. Br. at 35-36. Again, Defendants raise improper factual arguments and ignore the

  FAC’s allegations.40         The FAC alleges that when the Company first disclosed the Envigo

  subpoena, Inotiv’s stock price fell sharply as a result, with Bloomberg News and an analyst directly

  attributing a two-day decline in Inotiv’s stock price to disclosure of the subpoena. ¶261; see also

  ¶219. The FAC also alleges that this stock price decline was also caused, in part, by further

  disclosures regarding the Cumberland Facility, including—as an analyst observed—that there had



  38
    In a footnote, Defendants erroneously suggest that a purported lack of stock price decline following the November
  11 Statement responding to animal rights activists undermines loss causation. Def. Br. at 35 n.36. This ignores that
  the November 11 Statement is alleged to have been false and misleading by omitting material information about still-
  undisclosed USDA inspections. ¶¶193-95. Defendants also incorrectly suggest that allegations of pre-class period
  conditions at the Cumberland Facility—which support allegations of scienter—undermine loss causation. These
  arguments present factual disputes and a form of “truth on the market” defense that are inappropriate at this stage of
  the litigation and cannot support dismissal of the FAC; indeed, Defendants cite no authority in support of their position.
  The same reasoning applies to Defendants’ additional spurious argument regarding the market reaction to news of
  May 15, 2022 (Def. Br. at 37), which cannot support dismissal of the FAC.
  39
    Defendants’ reliance on Wochos v. Tesla, Inc., 985 F.3d 1180, 1198 (9th Cir. 2021), is misplaced. Wochos applies
  an analysis that has not been endorsed or applied by any court in the Seventh Circuit and is otherwise inconsistent
  with the weight of authority addressing the standard for pleading loss causation. Moreover, Wochos is factually
  distinguishable given that there were no false and misleading statements made after the one corrective disclosure there.
  Id. Wade v. WellPoint, Inc., 892 F. Supp. 2d 1102, 1135-36 (S.D. Ind. 2012) is similarly inapposite. Wade found loss
  causation lacking where, unlike here, the alleged corrective disclosure bore no connection to the alleged fraud; indeed,
  the plaintiff attributed the price decline to “external conditions” unrelated to the alleged fraud. Id. at 1115, 1135-36.
  40
    See, e.g., Holwill v. AbbVie Inc., 2020 WL 5235005, at *6 (N.D. Ill. Sept. 1, 2020) (holding that argument about
  what information was incorporated into the stock price “is a proper subject for discovery and a motion for summary
  judgment or trial, not a motion to dismiss.”)


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  been “new risks added to the 10-Q related to [the Cumberland Facility] being non-compliant.” Id.

  (emphasis added).41 The FAC thus properly pleads loss causation through this partial corrective

  disclosure. See, e.g., Hedick, 2021 WL 3566602, at *17.42

          May 20-21, 2022 Partial Corrective Disclosures. The FAC properly pleads a connection

  between Defendants’ misrepresentations and omissions and the $5.19 per share (28.3%) decline

  in Inotiv’s stock price following the May 20-21, 2022 news of the raid on the Cumberland Facility

  and the DOJ Action (¶262). Def. Br. at 36. Defendants’ argument ignores the FAC’s clear

  allegations that this corrective information revealed the truth of Defendants’ misrepresentations

  and omissions regarding the Cumberland Facility. ¶¶161-185, 191-202, 206-230, 262. Moreover,

  Defendants’ contentions that news of the raid on the Cumberland Facility and entry of the

  Amended TRO was either “bad news” unconnected to the alleged fraud or concerned “previously

  disclosed” matters (Def. Br. at 36 and n.38) are pure fantasy. There can be no credible dispute that

  the market reacted strongly to this news, which unquestionably concerned the longstanding AWA

  violations at the Cumberland facility alleged to have been concealed from investors.

          June 13, 2022 Partial Corrective Disclosure. In addition to raising similar, inappropriate,

  factual arguments concerning later stock price movement that fail for the same reasons described

  above, Defendants also erroneously contend—without citation to any authority—that size of the


  41
     Contrary to Defendants’ assertion, the Q1 2022 10-Q was the first instance in which Inotiv disclosed both the
  criminal subpoena and USDA enforcement together under a heading describing “Government Investigations.” ¶261.
  As Defendants acknowledge, statements concerning the Cumberland Facility in the 10-K were not the same as those
  in the Q1 2022 10-Q. Def. Br. at 35. Indeed, statements in the 10-K were made within a broad discussion of matters
  following the Envigo acquisition, whereas the disclosures in the Q1 2022 10-Q were made in footnote 14 to the
  financial statements, providing information concerning a $413 million line item for “Contingencies” that included
  risks associated with the Cumberland Facility and the subpoena to Envigo.
  42
    Defendants’ authority is inapposite. See Meyer v. Greene, 710 F.3d 1189, 1197-98 (11th Cir. 2013) (short-seller
  report that specified that all information therein was “obtained from publicly available sources” was not corrective
  because it did not present new information to the market); In re Omnicom Group, Inc. Sec. Litig., 597 F.3d 501, 511-
  12 (2d Cir. 2010) (affirming summary judgment where “none of th[e] matters [in a disclosure] even purported to reveal
  some then-undisclosed fact with regard to the specific misrepresentations alleged in the complaint”). Neither case
  concerns matters that, as alleged here, had not been disclosed prior to the corrective disclosure.


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  decline in Inotiv’s stock price does not support loss causation. Def. Br. at 36-37. Where, as here,

  the FAC pleads a series of partial corrective disclosures, the relative size of any individual

  corrective disclosure is not a consideration at the pleading stage. See Klein v. Altria Group, Inc.,

  525 F. Supp. 3d 638, 669 (E.D. Va. 2021) (rejecting factual arguments regarding corrective

  disclosures and noting that, even where price declines “fall short of the double-digit drops seen in

  many securities fraud cases, at this stage Plaintiffs have pled sufficient loss causation”).43

           November 17, 2022 Partial Corrective Disclosure. Defendants’ contention that that the

  massive, nearly 57% ($9.03 per share), decline in Inotiv’s stock price on November 17, 2022 is

  not connected to any “prior misstatements” (Def. Br. at 37) is plainly contradicted by the

  allegations in the FAC that, throughout the Class Period, Defendants concealed that the ongoing

  Criminal Investigation was focused on—as Inotiv disclosed on November 17, 2022—the

  Company’s “principal supplier” of NHPs. See, e.g., ¶¶1, 3, 12, 14, 17, 119-20, 190, 205, 222, 227,

  230, 241, 255-56, 258, 264.

           E.       The FAC Properly Pleads a Section 14(a) Claim

           The FAC alleges the elements of a Section 14(a) claim, namely actionable misstatements

  and omissions in Inotiv’s Proxy Solicitations, and loss causation based on Inotiv misleading

  investors about the Envigo acquisition. See Sections III.A, III.D, supra. Inotiv’s arguments for

  dismissal of Lead Plaintiff’s §14(a) claim merely rehash arguments on falsity, materiality, and loss

  causation that fail for the same reasons Lead Plaintiff has abundantly explained at Section III.B

  (falsity and materiality) and Section III.D (loss causation).

           On falsity, as the FAC alleges in detail, the Proxy and documents incorporated therein


  43
    Although factual inquiry is inappropriate at this stage, Defendants nonetheless incorrectly portray the June 13, 2022
  disclosure as an ordinary change of course and not a further revelation of the alleged fraud regarding the Cumberland
  Facility. Def. Br. at 36-37. This ignores that the June 13, 2022 announcement represented a dramatic reversal of
  Inotiv’s repeatedly stated intent to continue operating Cumberland Facility. ¶¶16, 107-09.


                                                           39
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  materially misstated and failed to disclose the severity of AWA violations at the Cumberland

  Facility and that the Company’s principal supplier of NHPs was a target of the ongoing Criminal

  Investigation, the omission of which made the Proxy Solicitations, and other specific statements

  therein, false and misleading. ¶¶47-49, 161, 165-69, 172-176, 307-321. Moreover, Regulation S-

  K specifically imposes an affirmative duty to disclose material known trends, legal proceedings,

  and risk factors in “proxy and information statements,” as well as periodic filings incorporated into

  Inotiv’s Proxy by reference. 17 C.F.R. § 229.10(a)(2)

            As to loss causation, the FAC details the value of the losses to shareholders when the truth

  was revealed about operations obtained as part of the Envigo acquisition and the source of three-

  quarters of the combined Company’s revenues. ¶¶256-70, 309-13. Far from speculative and

  contrary to Defendants’ characterization, the FAC specifies the amount by which Inotiv’s stock

  price fell in response to revelations concerning Envigo’s operations. This suffices to plead loss

  causation under Dura. See Section III.D, supra.44

            F.        The FAC Sufficiently Alleges Control Person Liability

            As the FAC adequately pleads primary violations of Sections 10(b) and 14(a) and sufficient

  allegations of Leasure’s and Taylor’s control over Inotiv (which Leasure and Taylor do not

  dispute), this Court should sustain Lead Plaintiff’s control person liability claims. See United

  States Sec. & Exch. Comm’n v. Kameli, 2020 WL 2542154, at *23 (N.D. Ill. May 19, 2020).

  IV.       CONCLUSION

            For the foregoing reasons, Defendants’ motion should be denied in its entirety.45


  44
    Defendants’ authority, Def. Br. 38-39 nn.39-40, where acquisition target shareholders alleged insufficient merger
  consideration, are inapposite. See, e.g., Trahan v. Interactive Intel. Grp., Inc., 308 F. Supp. 3d 977, 999-1000 (S.D.
  Ind. 2018) (loss causation insufficiently pled where allegedly depressed share price paid to acquired company investor
  not connected to alleged economic harm, e.g., a higher-priced offer for the investor’s shares of the acquired company).
  45
    Should the Court grant Defendants’ motion to dismiss in part or in whole, Plaintiff respectfully requests leave to amend. See
  Macovski v. Groupon, Inc., 553 F. Supp. 3d 460, 472-73 (N.D. Ill. 2021) (Fed. R. Civ. P. 15(a)(2) directs courts to freely give leave to
  amend when justice so requires).


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  DATED: March 28, 2023                        BERMAN TABACCO

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                                  CERTIFICATE OF SERVICE

         I certify that on this 28th day of March, 2023, a true and correct copy of the foregoing

  document was served on all counsel of record through the Court’s CM/ECF system.

  Dated: March 28, 2023

                                                              /s/ Steven J. Buttacavoli
                                                              Steven J. Buttacavoli




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